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 6                        UNITED STATES DISTRICT COURT
 7                      SOUTHERN DISTRICT OF CALIFORNIA
 8
 9 R.L. HIRSCH, Individually and On        Case No. 14-cv-3038 (DMS) (RBB)
   Behalf of EDISON INTERNATIONAL,
10
               Plaintiff,
11
                      vs.
12                                         ORDER DISMISSING ACTION
   THEODORE F. CRAVER, JR., et al.,        WITHOUT PREJUDICE
13
               Defendants,
14
15                    -and-
16 EDISON INTERNATIONAL,
17                Nominal Defendant.
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     25662728.1                                                 14-cv-3038 (DMS) (RBB)
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 1                WHEREAS the parties through Joint Motion have agreed as follows:
 2                1.   This action shall be dismissed without prejudice;
 3                2.   There is no necessity for the parties to provide notice of such
 4                     dismissal to the shareholders of Nominal Defendant, Edison
 5                     International;
 6                3.   The joinder by Defendants’ counsel in the dismissal request does
 7                     not concede that there is personal jurisdiction over Defendants or
 8                     that venue is proper in this District;
 9                4.   The dismissal provided herein shall become effective upon the
10                     Order of the Court.
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13                IT IS SO ORDERED this 9th day of February, 2015.
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15                                  ______________________________________
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16                                      HON. DANA M. SABRAW
                                    UNITED STATES DISTRICT COURT JUDGE
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